Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 1 of 39 PageID# 11918




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

             Plaintiffs,

       v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN                 CASE NO. 1:20-CV-484-LO-TCB
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,

             Defendants.


    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO HOLD
   DEFENDANTS BRIAN WATSON & WDC HOLDINGS LLC IN CIVIL CONTEMPT
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 2 of 39 PageID# 11919




                                                     TABLE OF CONTENTS

  INTRODUCTION .......................................................................................................................... 1

  BACKGROUND ............................................................................................................................ 4

                       A.         2020 Injunction and Contempt Proceedings ............................................... 4

                       B.         Appellate Affirmance of Injunction ............................................................ 6

                       C.         2021 Discovery and Sanctions Proceedings ............................................... 7

                       D.         Collateral Asset Liquidation, Litigation, and Ongoing Injunction
                                  Obstruction................................................................................................ 12

  LEGAL STANDARDS ................................................................................................................ 14

  ARGUMENT ................................................................................................................................ 15

            I.         DEFENDANTS ARE IN CONTEMPT OF INJUNCTION
                       PARAGRAPHS 2 AND 7 .................................................................................... 15

                       A.         Defendants Had Knowledge of the Injunction in Amazon’s Favor .......... 15

                       B.         Defendants Knowingly Violated Paragraphs 2 and 7 of the
                                  Injunction .................................................................................................. 16

                       C.         Defendants’ Injunction Violations Have Harmed Amazon ...................... 19

                       D.         Defendants Cannot Show “Good Faith” or “Reasonable Efforts to
                                  Comply” .................................................................................................... 21

            II.        MULTIPLE SANCTIONS ARE IMMEDIATELY WARRANTED................... 22

                       A.         The Court Should Preserve the Status Quo Through Expedited
                                  Hearing on This Motion By Prohibiting Certain Transactions and
                                  Collateral Litigation .................................................................................. 24

                       B.         The Court Should Appoint a Receiver to Administer Defendants’
                                  Assets ........................................................................................................ 27

                       C.         The Foregoing or Other Contempt Remedies Should Be Enforced
                                  At Defendants’ Expense and Subject to Fines for Non-Compliance ........ 29

  CONCLUSION ............................................................................................................................. 30




                                                                        ii
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 3 of 39 PageID# 11920




                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page(s)


  Cases

  ACA Fin. Guar. Corp. v. City of Buena Vista,
    298 F. Supp. 3d 834 (W.D. Va. 2018) .....................................................................................28

  Amazon.com, Inc. v. WDC Holdings LLC (Amazon V),
    2021 WL 3878403 (4th Cir. Aug. 31, 2021)..............................1, 2, 6, 7, 11, 16, 18, 20, 21, 29

  Amazon.com, Inc. v. WDC Holdings LLC (Amazon IV),
    2020 WL 7680552 (E.D. Va. Sept. 4, 2020)..............................................................................5

  Amazon.com, Inc. v. WDC Holdings LLC (Amazon III),
    2020 WL 4353563 (E.D. Va. July 28, 2020) ........................................................................1, 4

  Amazon.com, Inc. v. WDC Holdings LLC (Amazon II),
    2020 WL 4720086 (E.D. Va. June 5, 2020) ..................................................1, 5, 16, 17, 18, 19

  Amazon.com, Inc. v. WDC Holdings LLC (Amazon I),
    2020 WL 9455205 (E.D. Va. Apr. 28, 2020) ........................................................................4, 5

  Ashcraft v. Conoco, Inc.,
     218 F.3d 288 (4th Cir. 2000) .........................................................................................2, 15, 22

  Atl. Coast Line R.R. Co. v. Bhd. of Locomotive Eng’rs,
      398 U.S. 281 (1970) .................................................................................................................27

  Axiom Res. Mgmt., Inc. v. Alfotech Sols., LLC,
     2011 WL 2560096 (E.D. Va. June 3, 2011) ..........................................2, 20, 21, 22, 23, 24, 30

  Axiom Res. Mgmt., Inc. v. Alfotech Sols., LLC,
     2012 WL 1118947 (E.D. Va. Mar. 30, 2012) ..........................................................................24

  Baker v. Curtis W. Key Plumbing Contractors, Inc.,
     2016 WL 11672046 (E.D. Va. Dec. 8, 2016) ..........................................................................22

  Bralley v. Carey,
     2011 WL 6326503 (E.D. Va. Dec. 1, 2011) ............................................................................30

  Brooks Sports, Inc. v. Anta (China) Co.,
     2018 WL 7488924 (E.D. Va. Nov. 30, 2018) ....................................................................22, 23

  Buffalo Wings Factory, Inc. v. Mohd,
     574 F. Supp. 2d 574 (E.D. Va. 2008) ......................................................................................16


                                                                      iii
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 4 of 39 PageID# 11921




                                                 TABLE OF AUTHORITIES

                                                                                                                             Page(s)
  Buffington v. Baltimore Cty.,
     913 F.2d 113 (4th Cir. 1990) .............................................................................................23, 30

  Certain Underwriters at Lloyd’s v. Advanfort Co.,
     2019 WL 3366103 (E.D. Va. July 25, 2019) ...........................................................................22

  CFTC v. Forefront Invs. Corp.,
    2007 WL 2437413 (E.D. Va. Aug. 22, 2007) ..........................................................................28

  CFTC v. Kimberlynn Creek Ranch, Inc.,
    276 F.3d 187 (4th Cir. 2002) ...................................................................................................25

  Chesapeake Bank v. Berger,
     2014 WL 5500872 (E.D. Va. Oct. 30, 2014) .........................................................22, 23, 28, 29

  Chick Kam Choo v. Exxon Corp.,
     486 U.S. 140 (1988) .................................................................................................................27

  Colonial Williamsburg Found. v. Kittinger Co.,
     792 F. Supp. 1397 (E.D.Va. 1992) ..........................................................................................15

  Cromer v. Kraft Foods N. Am., Inc.,
     390 F.3d 812 (4th Cir. 2004) .............................................................................................23, 30

  De Beers Consol. Mines Ltd. v. United States,
     325 U.S. 212 (1945) .................................................................................................................16

  Doe v. Ceci,
     517 F.2d 1203 (7th Cir. 1975) .................................................................................................27

  Enovative Techs., LLC v. Leor,
     86 F. Supp. 3d 445 (D. Md. 2015) ...........................................................................................30

  Fed. Nat’l Mortg. Ass’n v. CG Bellkor, LLC,
     2013 WL 12148279 (E.D. Va. Mar. 18, 2013) ........................................................................28

  FTC v. Bronson Partners, LLC,
    654 F.3d 359 (2d Cir. 2011).....................................................................................................18

  In re Gen. Motors Corp.,
      61 F.3d 256 (4th Cir. 1995) .....................................................................................................15

  Gilchrist v. Gen. Elec. Capital Corp.,
     262 F.3d 295 (4th Cir. 2001) ...................................................................................................27



                                                                     iv
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 5 of 39 PageID# 11922




                                                 TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
  Gompers v. Buck’s Stove & Range Co.,
    221 U.S. 418 (1911) .................................................................................................................29

  Henry v. First Nat’l Bank,
     595 F.2d 291 (5th Cir. 1979) ...................................................................................................27

  Hicks v. Feiock,
     485 U.S. 624 (1988) .................................................................................................................30

  Hutto v. Finney,
     437 U.S. 678 (1978) .................................................................................................................15

  Int’l Union, United Mine Workers of Am. v. Bagwell,
      512 U.S. 821 (1994) ...........................................................................................................23, 29

  Lamar, Archer & Cofrin, LLP v. Appling,
     138 S. Ct. 1752 (2018) .............................................................................................................20

  LNV Corp. v. Harrison Family Bus., LLC,
    132 F. Supp. 3d 683 (D. Md. 2015) .........................................................................................28

  NBA v. Minn. Prof’l Basketball, Ltd. P’ship,
    56 F.3d 866 (8th Cir. 1995) .....................................................................................................27

  Plant v. Merrifield Town Ctr. Ltd. P’ship,
     711 F. Supp. 2d 576 (E.D. Va. 2010) ......................................................................................23

  United States ex rel. Rahman v. Oncology Assocs.,
     198 F.3d 489 (4th Cir. 1999) .............................................................................................21, 25

  Rainbow Sch., Inc. v. Rainbow Early Educ. Holding LLC,
     887 F.3d 610 (4th Cir. 2018) .............................................................................................15, 26

  Redner’s Mkts., Inc. v. Joppatowne G.P. Ltd. P’ship,
     608 F. App’x 130 (4th Cir. 2015) ............................................................................................15

  Ex parte Robinson,
     86 U.S. (19 Wall.) 505 (1874) ...........................................................................................15, 26

  SAS Inst., Inc. v. World Programming Ltd.,
     874 F.3d 370 (4th Cir. 2017) ...................................................................................................21

  Schwartz v. Rent-A-Wreck of Am.,
     261 F. Supp. 3d 607 (D. Md. 2017) .........................................................................................30



                                                                      v
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 6 of 39 PageID# 11923




                                                 TABLE OF AUTHORITIES

                                                                                                                             Page(s)
  SEC v. Dunlap,
     253 F.3d 768 (4th Cir. 2001) ...................................................................................................24

  SEC v. Int’l Swiss Invs. Corp.,
     895 F.2d 1272 (9th Cir. 1990) .................................................................................................25

  SEC v. Liu,
     851 F. App’x 665 (9th Cir. 2021) ................................................................................17, 25, 26

  STM Invest S.A.R.L. v. 3P Equity Partners, LLC,
     2019 WL 1960278 (C.D. Cal. Mar. 27, 2019) .........................................................................17

  STM Invest S.A.R.L. v. 3P Equity Partners, LLC,
     No. 19-cv-1764-CBM-AS, Dkt. 167 (C.D. Cal., June 14, 2019), In STM...............................17

  TFWS, Inc. v. Franchot,
    572 F.3d 186 (4th Cir. 2009) ...................................................................................................29

  Thomas v. FTS USA, LLC,
     2016 WL 3566657 (E.D. Va. June 24, 2016) ..........................................................................22

  United States v. Ali,
     874 F.3d 825 (4th Cir. 2017) ...................................................................................2, 15, 16, 22

  United States v. Latney’s Funeral Home, Inc.,
     41 F. Supp. 3d 24 (D.D.C. 2014) .............................................................................................29

  United States v. Mescall,
     624 F. App’x 103 (4th Cir. 2015) ............................................................................................28

  United States v. Rosen,
     557 F.3d 192 (4th Cir. 2009) ...................................................................................................29

  United States v. Rylander, 460 U.S. 752 (1983) ............................................................................22

  United States v. United Mine Workers of Am.,
     330 U.S. 258 (1947) .................................................................................................................23

  Wu v. Tseng,
     2008 WL 4360990 (E.D. Va. Sept. 22, 2008)..........................................................................22

  Yancey v. Int’l Fid. Ins. Co.,
     2016 WL 2997375 (E.D. Va. May 25, 2016) ..........................................................................28

  Zacarias v. Stanford Int’l Bank, Ltd.,
     945 F.3d 883 (5th Cir. 2019) ...................................................................................................27
                                                                     vi
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 7 of 39 PageID# 11924




                                                   TABLE OF AUTHORITIES

                                                                                                                                      Page(s)
  Statutes

  28 U.S.C. § 2283 ............................................................................................................................27

  28 U.S.C. § 2361 ............................................................................................................................27

  Other Authorities

  Related, Black’s Law Dictionary 1541 ..........................................................................................20

  Restatement of Restitution § 210(1) p. 845 (1958)..................................................................18, 19

  Wright & Miller, Fed. Prac. & P. § 2960 .......................................................................................23

  Wright & Miller, Fed. Prac. & P. § 2985 .......................................................................................28

  Rules

  Fed. R. Civ. P. 37 .....................................................................1, 2, 7, 10, 13, 14, 21, 22, 25, 27, 30

  Fed. R. Civ. P. 66 ...........................................................................................................................28




                                                                        vii
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 8 of 39 PageID# 11925




         Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (“Amazon”) respectfully

  move for an order holding defendants Brian Watson and WDC Holdings LLC (“Northstar”) (col-

  lectively, “Defendants”) in civil contempt of this Court’s preliminary injunction, Dkt. 57 (“Injunc-

  tion”), and for immediate relief based on this contempt and the Rule 37 record the Court has found

  “admissible in any . . . motion[] regarding injunctive relief filed by Plaintiffs,” Dkt. 330.

                                          INTRODUCTION

         Defendants’ contempt is clear, and sanctions are necessary to protect the Court’s authority

  and Amazon’s rights as affirmed on appeal and in the Court’s Rule 37 orders. The Court entered

  the Injunction after finding that Amazon was likely to succeed on its claims in this fraud and rack-

  eteering case, and that Defendants were likely to dispose of assets and evidence prior to judgment.

  Dkts. 16, 57; Amazon.com, Inc. v. WDC Holdings LLC (Amazon II), 2020 WL 4720086 (E.D. Va.

  June 5, 2020). Consistent with these findings, Paragraph 2 of the Injunction required Defendants

  to post $21,250,000 in judgment security, and Paragraph 7 prohibited them from dissipating assets.

  Amazon II, 2020 WL 4720086, at *2–4; Amazon.com, Inc. v. WDC Holdings LLC (Amazon III),

  2020 WL 4353563, at *2 (E.D. Va. July 28, 2020) (Amazon III). Defendants have defied both

  provisions since they were entered in June of last year, and have now liquidated over $140 million

  in assets without posting any of the required security.

         This Injunction contempt is not excused by Defendants’ appeal of Paragraph 2’s security

  provision. This Court did not stay this provision, which the Fourth Circuit has now affirmed as

  necessary to “ensure that [Defendants’] present ability to pay endures until judgment.” Ama-

  zon.com, Inc. v. WDC Holdings LLC (Amazon V), 2021 WL 3878403, at *9 (4th Cir. Aug. 31,

  2021). Nor is Defendants’ Injunction contempt excused by the defenses they raised in this Court

  last spring. In July 2020, the Court ordered Defendants to produce discovery substantiating those

  defenses. Dkts. 94, 95. That order gave Defendants a chance to prove that they “never received
                                                    1
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 9 of 39 PageID# 11926




  anywhere near” $21.25 million “in connection with [Amazon’s] transactions,” Dkt. 193-2 at

  18:25–19:1; that they did not know kickbacks were being funneled to Amazon insiders; and that

  they were “unable to [pledge]” any of their ten-figure portfolio for a bond and otherwise lacked

  resources “sufficient” to post security, id. at 24:1–5. Instead, Defendants abused the discovery

  process to proliferate their Injunction violations. This record supports immediate contempt relief

  in addition to the Rule 37 sanctions the Court granted on September 10, 2021. Dkt. 330.

          Civil contempt is warranted where, as here, the alleged contemnor had “knowledge” of a

  “valid decree” in the movant’s “favor,” “violated the terms of the decree,” and harmed the movant

  “as a result.” Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2000). The Injunction itself

  satisfies the first two requirements. Defendants’ admitted dissipation of over $140 million in as-

  sets while refusing to post the required judgment security satisfies the third requirement. And

  recent orders from this Court and the Fourth Circuit confirm the resulting harm to Amazon.

          This prima facie evidence of contempt “shift[s] to [D]efendant[s]” the burden “to demon-

  strate that [they] made in good faith all reasonable efforts to comply with” the Injunction. United

  States v. Ali, 874 F.3d 825, 828 (4th Cir. 2017) (quotation marks omitted). But the record here

  forecloses such a showing. On September 10, 2021, this Court held that Defendants “willfully

  failed to comply with” three Injunction-related “discovery orders,” see Dkts. 95, 231, 302, as well

  as “their discovery obligations under Federal Rule of Civil Procedure 37,” Dkt. 330, and that “there

  is certainly prejudice to the plaintiffs in terms of their ability to enforce the injunction or, perhaps,

  even recoup the funds,” Ex. 1 at 7:5–7. These rulings alone preclude any “good faith” defense.

  See, e.g., Axiom Res. Mgmt., Inc. v. Alfotech Sols., LLC, 2011 WL 2560096, at *7 (E.D. Va. June

  3, 2011) (“bad faith includes willful” violation of court orders). And they similarly preclude any

  showing of “reasonable efforts to comply” with the Injunction. Ali, 874 F.3d at 831.



                                                     2
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 10 of 39 PageID# 11927




          Defendants’ discovery responses confirm that their Injunction defenses were not just un-

  substantiated, but were knowingly false. Defendants told the Court that they “never received an-

  ywhere near that amount of money” Paragraph 2 attributes to the deals in this suit, and did not

  know that funds were being channeled to Amazon insiders. Dkt. 193-2 at 18:25–19:1. But De-

  fendants now admit Amazon proceeds that exceed the Injunction amount and have corroborated

  their knowledge of kickbacks that were independently documented in the Injunction record. De-

  fendants’ discovery responses also confirm that third party investors did not “render” Defendants

  “unable to pledge” their assets for escrow or bond.

                                                                              . Defendants simply chose

  not to do so and instead dissipated over $140 million in assets while violating the Injunction.

          Defendants’ extraordinary contempt of this Court’s orders, coupled with their ongoing In-

  junction obstruction, supports immediate relief beyond the discovery sanctions the Court granted

  earlier this month. Dkt. 330. At a minimum, the Court should rely on its September 10 findings

  to immediately entering an order that: (i) grants the request for expedited briefing and hearing that

  accompanies this motion; and (ii) prohibits Defendants from engaging in any business or personal

  transactions in excess of $10,000, and from initiating or settling any collateral asset litigation, until

  the Court hears and fully resolves this motion, including the post-hearing appointment of any re-

  ceiver. The law and record support these sanctions now to preserve the status quo while expediting

  full consideration of receivership or other contempt sanctions that will protect the Injunction and

  all stakeholder rights without collateral litigation, including for liens or lis pendens.1



  1
   The issues presented by Defendants’ September 29, 2021 “Motion to Clarify the Injunction,”
  Dkt. 343, are subsumed—and foreclosed—by the points in this motion, and should be briefed
  concurrently as Amazon proposed (and Defendants purported to agree) just hours before they filed.
  Although Amazon reserves the right to file a separate opposition to Defendants’ motion, the record
  evidence confirms that they are in contempt of Injunction Paragraph 7 as they read it.
                                                     3
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 11 of 39 PageID# 11928




                                           BACKGROUND

         Plaintiffs filed this case and sought preliminary injunctive relief in April 2020. The action

  arises out of a fraud and kickback scheme that Defendants and their coconspirators used to obtain

  tens of millions of dollars in illicit proceeds on over $500 million of Amazon development projects

  in this District. Defendant Brian Watson is the owner of Defendant WDC Holdings, a Colorado

  real estate development company operating as Northstar. Amazon III, 2020 WL 4353563, at *2.

  Beginning in 2017, Watson cultivated a relationship with two Amazon real estate transaction man-

  agers—co-defendants Carleton Nelson and Casey Kirschner, id.—who, as detailed in prior plead-

  ings and orders, steered transactions to Defendants in exchange for kickbacks. Dkts. 10–12, 41–

  47, 57, 68–69, 84–85, 100, 150, 191, 210–218, 231, 256, 285–86, 291, 308, 330.

         A.      2020 Injunction and Contempt Proceedings

         Because this case arose out of an internal and parallel criminal investigation into Defend-

  ants’ misconduct, even Amazon’s initial filings were supported by a substantial “body of evidence

  including spreadsheets, wire transfer instructions, email exchanges, recorded conversations, and

  other materials implicating defendants in the alleged scheme.” Amazon III, 2020 WL 4353563, at

  *3. Based on this record, the Court granted a temporary restraining order (“TRO”) requiring De-

  fendants to place $21.25 million into escrow and enjoining them from “transferring, or otherwise

  disposing of . . . assets used in, or obtained from, the activities alleged in this action.” Dkt. 16;

  Amazon.com, Inc. v. WDC Holdings LLC (Amazon I), 2020 WL 9455205, at *3 (E.D. Va. Apr. 28,

  2020). Then, after weeks of litigation, Dkts. 9, 10, 30, 39, 41, the Court converted the TRO to a

  preliminary injunction, but indulged Defendants’ request to modify the terms and delay entry of

  the order so they could obtain a bond. Dkts. 49–51. As of June 5, 2020, Defendants had not

  procured a bond, so the Court entered the Injunction with various security options, all of which

  Defendants have defied to this day. Amazon II, 2020 WL 4720086; see also Dkt. 84 at 2.

                                                   4
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 12 of 39 PageID# 11929




         In July 2020, Defendants still had not posted any security, so Amazon moved for an order

  to show cause why they should not be held in contempt of the Injunction. Dkts. 67–68, 84. De-

  fendants responded by appealing the security provision, Dkts. 72, 137, and reprising their claims

  that it “far overestimate[s] the amount of money that [they] actually received from Amazon,” Dkt.

  193-2 at 18:21–23; that the “different types of fees that were paid” on the relevant deals are “not

  the kind of thing that one can quickly come in and summarize for the Court,” id. at 17:22–25; and

  that they do not have “anywhere near” enough available cash or other liquid assets to be able to

  place $21,250,000 into escrow, id. at 18:25–19:1. Defendants then endorsed Amazon’s proposal

  of “limited discovery” on these defenses, id. at 13, to avoid a contempt ruling pending disposition

  of their appeal and motion to stay the Injunction, Dkts. 75, 118.

         On July 17, 2020, the Court agreed that “discovery is the answer.” Dkt. 91 at 26:10–12,

  27:1–8, 27:23–24. Amazon immediately filed 22 requests tailored to Defendants’ unsubstantiated

  Injunction challenges, Dkt. 94, and the Court ordered Defendants to answer them in accordance

  with the federal rules. Dkt. 95 at 1. Defendants did not do so, Dkt. 193-9, even after the Court

  denied their request to stay the Injunction pending appeal. Amazon.com, Inc. v. WDC Holdings

  LLC (Amazon IV), 2020 WL 7680552, at *2 (E.D. Va. Sept. 4, 2020).2 Amazon then moved to

  compel, Dkt. 190, and on November 13, 2020 the Court overruled Defendants’ discovery objec-

  tions and ordered them to “fully and completely respond to the [July] discovery requests” by No-

  vember 24, 2020. Ex. 1 at 13:14–21. They failed to do so, instead producing initial and objec-

  tionable responses in late November while surreptitiously liquidating over $82 million in assets.

  When Amazon discovered and objected to these liquidations, Defendants insisted they did not


  2
    The Court’s opinion found that Defendants’ appeal was unlikely to succeed, and that a stay
  would “risk any award being payable in the event of a favorable ruling” for Amazon because
  Defendants were likely to dissipate “significant assets.” Amazon IV, 2020 WL 7680552 at *2–3.

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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 13 of 39 PageID# 11930




  generate cash that could be used for judgment security, and promised to “supplement” their dis-

  covery responses to substantiate this claim. They then spent months on voluminous but substan-

  tively deficient productions while their liquidations swelled to over $140 million.3 Dkt. 310-3.

         B.      Appellate Affirmance of Injunction

         On September 22, 2021, the mandate issued on the Fourth Circuit’s opinion affirming the

  Injunction. See Amazon.com, Inc. v. WDC Holdings LLC (Amazon V), 2021 WL 3878403 (4th

  Cir. Aug. 31, 2021). The opinion unanimously rejected Defendants’ claim that the Injunction

  violates the Supreme Court’s prohibition on preliminary damages awards, id. at *4–5, and affirmed

  Paragraph 2’s judgment security provision as a valid exercise of this Court’s “equitable authority

  to preserve the status quo pending judgment” on Amazon’s claims “involving [Defendants’] as-

  sets,” id. at *5. Notably, the Fourth Circuit held that Amazon has “viable claim[s]” in equity for

  “funds that were allegedly converted due to Northstar’s fraudulent behavior and were eventually

  deposited into Northstar’s accounts.” Id. at *6. It then affirmed Paragraph 2’s mandate for $21.25

  million in judgment security because even the record appealed last spring presented “significant

  evidence linking the Project Entities, Northstar, and Villanova4 to improper payments and money

  transfers.” Id. at *2. In affirming the amount of security Paragraph 2 requires, the Fourth Circuit

  expressly held that a preliminary injunction on equitable claims like constructive trust and “dis-

  gorgement does not require tracing of specific funds in a defendant’s possession.” Id. at *6–7.


  3
    These dispositions include: (i) 5825 Mark Dabling Blvd, sold for $17,000,000 on 10/1/2020; (ii)
  9200 E. Mineral Avenue, sold for $9,050,000 on 12/9/2020; (iii) 5500 S. Quebec Street, sold for
  $25,480,000 on 7/30/2020; (iv) 2979 N. Uinta Street, sold for $24 million on 11/4/2020; (v) 3840
  S. Wadsworth Blvd, sold for an unknown amount on 8/18/2020; (vi) 800 Hoyt Street, sold for
  $22,212,000 on 12/8/2020; (vii) 18445-18455 W. Colfax Avenue, apparently transferred to an
  affiliate for $1,117,662 on 11/23/2020; and (viii) Mt. Pocono, sold for $25,175,000 on 12/23/20.
  4
   Co-Defendant Villanova Trust was the entity that Watson’s friend Christian Kirschner, the
  brother of co-defendant and former Amazon manager Casey Kirschner, set up to receive Defend-
  ants’ “referral” payments on Amazon’s deals, portions of which channeled to Casey and Nelson.

                                                  6
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 14 of 39 PageID# 11931




         Having affirmed this standard for granting the Injunction, the Fourth Circuit agreed that

  Amazon had satisfied it by “plead[ing] numerous examples of specific funds that Northstar re-

  ceived through unjust enrichment or conversion.” Id. Based on this record (which has now further

  developed in Amazon’s favor), it held that Paragraph 2’s security requirement is “a reasonable

  measure to preserve” the $21.25 million Amazon identified as “a ‘conservative estimate’ of

  Northstar’s unjust gains subject to disgorgement or a constructive trust,” id. at *7, and that this

  security is necessary to prevent irreparable harm to Amazon and “ensure that Northstar’s present

  ability to pay endures until [final] judgment,” id. at *9.

         C.      2021 Discovery and Sanctions Proceedings

         The current Injunction and contempt record is much stronger now than the record underly-

  ing the Fourth Circuit’s opinion and this Court’s July 2020 discovery order. Dkts. 57, 95. The

  new record is detailed in the many pleadings (see, e.g., Dkts. 284, 286, 302, 304, 308, 310, 330)

  supporting the Court’s three Rule 37 decisions, Dkts. 231, 301, 330, the most recent of which

  granted sanctions for Defendants’ “willful[] fail[ure]” to comply with the Court’s discovery orders

  and the federal rules. Dkt. 330; Ex. 1 at 7. As detailed below, this record confirms that Defendants’

  Injunction challenges were not merely unsubstantiated, but in several respects knowingly false or

  otherwise willfully directed at obstructing the Injunction.

         Amazon Transaction Proceeds and Kickbacks. The record now establishes that Defend-

  ants’ representations concerning the transaction proceeds and kickbacks at issue in this case—

  including their claims that they “never received anywhere near [$21.25 million] in connection with

  [Amazon’s] transactions” and were unaware of any proceeds flowing back to Amazon insiders,

  Dkt. 193-2 at 18:25–19:1—were false. Their own documents reference at least $18,636,919 in

  Northstar “Acquisition, Leasing, Development and Asset Management” fees connected to

  Northstar’s Amazon lease deals in addition to the $5 million they admit receiving from Amazon’s
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 15 of 39 PageID# 11932
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 16 of 39 PageID# 11933
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 17 of 39 PageID# 11934
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 18 of 39 PageID# 11935




         Relationship of Assets to Amazon Transaction Proceeds. The current record further es-

  tablishes that Defendants violated Paragraph 7’s anti-dissipation provision in addition to defying

  Paragraph 2’s security requirements.10 Defendants assert that Paragraph 7 “applies only to the real

  estate transactions with Amazon, and not any other assets or properties.” Dkt. 286-21 at 1 (em-

  phasis added). As discussed below, this argument is legally foreclosed by the plain text of Para-

  graph 7 (which covers assets “obtained from” or “relating to” Defendants’ business with Amazon,

  Dkt. 57), and the Fourth Circuit’s opinion affirming the Injunction’s preservation mandate. Dkt.

  326-1. It is also factually foreclosed by Defendants’ admissions that they used funds commingled

  with Amazon deal proceeds to finance or secure assets they still hold or have liquidated for cash.

  Declaration of Todd W. Shaw (“Shaw Decl.”) ¶¶ 12–47, 48–74; Exs. 9–31, 32–48; see also Shaw

  Decl. ¶¶ 12–47; Exs. 9–31.

         Notably, Defendants concede that funds from the Amazon deals were used “to pay opera-

  tion expenses, used as working capital/investment funds, distributed to employees pursuant to con-

  tract, or were generally used to pay bills on behalf of Northstar.” Dkt. 310-2 at 3. They also admit

  that they sold several properties—notably 800 Hoyt (for $24 million), 5805 Mark Dabling (for $17

  million), 5500 S. Quebec (for $575,000), and Gateway Retail (for $5.9 million)—that were fi-

  nanced with funds that Defendants commingled with Amazon deal proceeds in at least two ac-

  counts. Dkt. 310-3; Shaw Decl. ¶¶ 48–74; Exs. 32–48. Further, Defendants still appear to own

  properties (e.g., Benchmark Title) that were similarly financed with funds commingled in the same


  Injunction compliance, they should have raised and substantiated those justifications in discovery.
  Instead, Defendants “willfully” failed to do so. Dkt. 330.
  10
    The issues presented by Defendants’ September 29, 2021 “Motion to Clarify the Injunction,”
  Dkt. 343, are subsumed—and foreclosed—by the points in this motion, and should be briefed
  concurrently as Amazon proposed (and Defendants purported to agree) just hours before they filed.
  Although Amazon reserves the right to file a separate opposition to Defendants’ motion, the record
  evidence herein confirms that they are in contempt of Injunction Paragraph 7 even as they read it.

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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 19 of 39 PageID# 11936




  accounts that contained Amazon proceeds. This commingling continued through at least May

  2020, when the United States seized $3.85 million in Amazon-related equity payments Defendants

  directed to those accounts. Shaw Decl. ¶¶ 4, 66–67; Exs. 2, 43–44. United States v. $196,634

  Seized from Citywide Bank Account Ending in 9662 and $3,648,375 Seized from Citywide Bank

  Account Ending in 8557, No. 1:21-cv-00561 (E.D. Va. 2021).

         D.      Collateral Asset Liquidation, Litigation, and Ongoing Injunction Obstruction

         Defendants’ Injunction contempt goes well beyond asset dissipation. In the last nine

  months they have engaged in litigation involving many of the same assets and rulings at issue here,

  and seemingly used these proceedings to frustrate Injunction enforcement and threaten third parties

  who have offered to cooperate with Amazon in resolving asset claims in this Court.

         Defendants’ collateral attacks on this Court’s rulings began in December 2020, when they

  filed a complaint in Delaware against the Amazon financing partner (IPI) who terminated their

  involvement in the projects at issue here. Dkt. 286-12. The Delaware complaint arises out of

  precisely the same transactions as this case, and recycles Defendants’ failed injunction and merits

  defenses as affirmative claims for “over $18 million in fees” beyond those already received on

  Amazon’s deals, as well as “approximately $53 million” in general partner payments. Id. at 12–

  14. To support these claims, Defendants’ complaint misquotes controlling contract termination

  provisions on the lease development sites, attacks and distorts the testimony from IPI and former

  Northstar executives this Court credited last year, and misrepresents this Court’s rulings. Dkt.

  308-12. If the case proceeds beyond IPI’s pending motion to dismiss, it could complicate merits

  litigation and asset recovery in this action.

         The same is true of Defendants’ pursuit of certain legal proceedings in Colorado. This

  spring Defendants resolved two disputes with former executives and development partners rele-

  vant to this case. The first suit, Richards et al. v. WDC Holdings LLC, et al., No. 2019-cv-34472
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 20 of 39 PageID# 11937




  (Colo. Dist. Ct.), brought by former Northstar executive Josh Richards, settled on May 3, 2021 for

  an undisclosed sum. Beyond diverting assets to that settlement over this Court’s Injunction, De-

  fendants used the dispute to assert confidentiality objections to the discovery this Court ordered.

  Dkt. 308 at 3–4. Notably, Defendants stonewalled production of documents that, among other

  things, show that

                                                                                        did not pro-

  duce any documents from Richards until after this Court granted Rule 37 sanctions, and even then

  did not produce                    , which Amazon obtained from imaged devices this Court sep-

  arately forced Defendants to produce after they improperly withheld them for months following

  their February 2021 return from the FBI. Dkt. 302.

         The second Colorado dispute involved another former Northstar principal—Donald J. Mar-

  cotte—who replaced Watson as the manager of an investment property (“800 Hoyt” or the “LLC”)

  that was liquidated in December 2020 for over $24 million that Defendants improperly withheld

  from their discovery responses here. In response to the Court’s Rule 37 order this July, Defendants

  admitted that some $13.9 million of these funds were “pending distribution[],” but disclaimed any

  “control” over (as distinct from interests in) the money. Dkt. 308 at 2, 11. Amazon then sent

  Marcotte and the LLC a cease and desist letter regarding the funds, and LLC counsel responded

  by offering to cooperate by interpleading the disputed funds in this Court. Dkt. 334. In response—

  before 800 Hoyt moved to “interplead the disputed Interpleader funds into th[is] Court’s registry,”

  id. ¶ 5—Defendants threatened to sue the LLC in Colorado for breach of the venue provision in a

  settlement agreement Watson extracted this spring for certain management fees he concealed from

  discovery in this case. In the course of reviewing the settlement

                                                                                     ) and the Hoyt



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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 21 of 39 PageID# 11938




  LLC management agreement, Amazon discovered provisions further rebutting Defendants’ state-

  ments to this Court.




                                                                          Instead, Defendants misrep-

  resented this capability and used their property interests to generate cash they used to benefit them-

  selves while defying this Court’s Injunction.

                                        LEGAL STANDARDS

         “The power to punish for contempt is inherent in all courts; its existence is essential . . . to

  the enforcement of the judgments, orders and writs of the courts, and consequently, to the due

  administration of justice.” Ex parte Robinson, 86 U.S. (19 Wall.) 505, 510 (1874); see also Rain-

  bow Sch., Inc. v. Rainbow Early Educ. Holding LLC, 887 F.3d 610, 617 (4th Cir. 2018); Hutto v.

  Finney, 437 U.S. 678, 691 (1978). Such proceedings begin when the movant makes a prima facie

  showing of clear and convincing evidence that:

         (1) the[re] exist[s] . . . a valid decree of which the alleged contemnor had actual or
         constructive knowledge;

         (2) the decree was in the movant’s “favor”;

         (3) the alleged contemnor by its conduct violated the terms of the decree, and had
         knowledge (at least constructive knowledge) of such violations; and

         (4) the movant suffered harm as a result.

  Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2000) (alterations omitted) (quoting Colonial

  Williamsburg Found. v. Kittinger Co., 792 F. Supp. 1397, 1405–06 (E.D.Va. 1992)). Once the

  movant makes this showing, “the burden shifts to the defendant . . . to demonstrate that [the de-

  fendant] made in good faith all reasonable efforts to comply with” the relevant order. United States



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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 22 of 39 PageID# 11939




  v. Ali, 874 F.3d 825, 831 (4th Cir. 2017) (quotation marks omitted);11 In re Gen. Motors Corp., 61

  F.3d 256, 258 (4th Cir. 1995) (“Civil contempt is an appropriate sanction” if plaintiff “can point

  to an order of this Court [that] ‘set[s] forth in specific detail an unequivocal command’ which

  [Defendants have] violated.”) (citation omitted; second alteration in original). “Willfulness is not

  an element of civil contempt,” but informs the choice of sanctions where, as here, the Court has

  already found that the defendant “willfully” violated orders. Redner’s Mkts., Inc. v. Joppatowne

  G.P. Ltd. P’ship, 608 F. App’x 130, 131 (4th Cir. 2015).

                                              ARGUMENT

  I.        DEFENDANTS ARE IN CONTEMPT OF INJUNCTION PARAGRAPHS 2 AND 7

            A.     Defendants Had Knowledge of the Injunction in Amazon’s Favor

            The Injunction mandates that Defendants set aside $21.25 million in bond or escrow and

  prohibits them from dissipating assets “related to” the Amazon deals. Amazon II, 2020 WL

  4720086, at *2–4 ¶¶ 2, 7. This order was entered in Amazon’s favor in order to protect Amazon’s

  equitable claims, which could result in disgorgement of proceeds or imposition of a constructive

  trust or equitable lien. Dkt. 57.12 Defendants appealed, and the Fourth Circuit affirmed the In-

  junction and returned full enforcement jurisdiction to this Court when the mandate issued on Sep-

  tember 22. Amazon V, 2021 WL 3878403, at *9; Dkt. 333.

            It is undisputed that Defendants have “knowledge” of the Injunction, including the specific

  security and anti-dissipation provisions they have been litigating for over a year. E.g., Ali, 874




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       All emphasis in this brief is supplied unless otherwise noted.
  12
     See generally De Beers Consol. Mines Ltd. v. United States, 325 U.S. 212, 220 (1945) (“pre-
  liminary injunction is always appropriate to grant intermediate relief of the same character as that
  which may be granted finally”).
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 23 of 39 PageID# 11940




  F.3d at 831. Indeed, Defendants negotiated the language in Paragraph 2 as an alternative to Am-

  azon’s initial escrow order. See, e.g., Dkts. 48–52, 57, 60, 62. The record thus plainly satisfies

  the “knowledge” requirements for a contempt order. E.g., Ali, 874 F.3d at 831; Buffalo Wings

  Factory, Inc. v. Mohd, 574 F. Supp. 2d 574, 581 (E.D. Va. 2008) (“Defendants ha[d] actual and

  constructive knowledge of [the order] due to their attendance at the hearing on its validity and

  because [p]laintiff ha[d] written [d]efendants’ counsel to demand compliance with [the order].”).

         B.      Defendants Knowingly Violated Paragraphs 2 and 7 of the Injunction

         The record also establishes Defendants’ knowing violation of the Injunction.

         Paragraph 2 – Judgment Security. Paragraph 2 of the Injunction states that Defendants

  “shall secure” $21,250,000 by: (i) “promptly placing [the funds] in an escrow account” on the

  terms that Defendants negotiated with Amazon in May 2020; or (ii) “obtaining and depositing in

  the Court’s Registry a surety bond from a licensed bonding company”; or (iii) relying on a “com-

  bination” of bond and escrow options to “secur[e]” the funds “through the entry and execution of

  final judgment in this action.” Amazon II, 2020 WL 4720086, at *2 ¶ 2. These alternatives were

  granted at Defendants’ request in an effort to accommodate their claim of business hardship in

  complying with the TRO’s escrow provision, which was based on a recent federal precedent that

  utilized a pure escrow structure to enforce a preliminary injunction securing $8 million that certain

  defendants transferred to their attorneys. See Prelim. Inj. at 4, STM Invest S.A.R.L. v. 3P Equity

  Partners, LLC, No. 19-cv-1764-CBM-AS, Dkt. 167 (C.D. Cal., June 14, 2019).13 Because of the

  Court’s accommodations, Paragraph 2’s judgment security provisions are far less restrictive than


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     In STM, as here, the plaintiffs challenged the defendant’s collection of millions of dollars in
  unauthorized fees, and the Court granted preliminary injunctive relief because “Defendants pro-
  vide[d] no evidence regarding how the Cash [was] being spent or the amount of the Cash that
  remain[ed], nor offer[ed] evidence demonstrating Defendants would be able to satisfy a judgment
  in Plaintiffs’ favor.” STM Invest S.A.R.L. v. 3P Equity Partners, LLC, No. 19-cv-1764-CBM-AS,
  2019 WL 1960278, at *5 (C.D. Cal. Mar. 27, 2019).
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 24 of 39 PageID# 11941




  the escrow structure in STM, and respected Defendants’ business interests by forgoing a total asset

  freeze. Cf. SEC v. Liu, 851 F. App’x 665, 669 (9th Cir. 2021) (“freez[ing] all [the defendant’s]

  assets”). But instead of respecting these provisions, Defendants abused them and employed their

  ongoing operations to dissipate assets and otherwise obstruct the Injunction.

         Paragraph 7 – Anti-Dissipation. Paragraph 7 of the Injunction prohibits Defendants from

  “transferring, or otherwise disposing of . . . assets used in, or obtained from, any activities (includ-

  ing but not limited to the activities described above) relating to Defendants’ real property transac-

  tions with Amazon in Virginia since 2018.” Amazon II, 2020 WL 4720086, at *4 ¶ 7. This pro-

  vision is reasonably tailored to protect Amazon’s claims for a constructive trust or equitable lien

  on the proceeds that Defendants received in connection with the deals in suit. Defendants insist

  that their $140 million in liquidations did not violate Paragraph 7 because it “applies only to the

  real estate transactions with Amazon, and not any other assets or properties.” Dkt. 286-21 at 1

  (emphasis added). That is incorrect. The order expressly applies to “assets used in, or obtained

  from, any activities . . . relating to Defendants’ real property transactions with Amazon.” Dkt. 57.

  And the Fourth Circuit affirmed the Injunction as a prohibition on “spoliating, concealing, or trans-

  ferring relevant evidence or assets” that is not limited to funds directly traceable to Amazon’s

  transactions. Amazon V, 2021 WL 3878403, at *3, *8.14

         Defendants now admit that they commingled Amazon transaction proceeds with general

  business funds in accounts they used to acquire and finance assets they liquidated for cash after

  the Injunction was entered. See notes 5–6 supra. And they admit they used the cash to benefit

  themselves rather than post the judgment security Paragraph 2 requires. See id. (interrogatory



  14
     See also, e.g., FTC v. Bronson Partners, LLC, 654 F.3d 359, 374 (2d Cir. 2011) (“[I]t is by now
  so uncontroversial that tracing is not required in disgorgement cases that we recently rejected an
  argument to the contrary via summary order.”).
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 25 of 39 PageID# 11942




  responses stating that Watson used his payments for “personal and living expenses” and that “[a]ll

  proceeds paid to WDC Holdings/Northstar Commercial Partners … were used for Northstar Com-

  mercial Partners’ expenses”). This undisputed conduct alone violates Paragraph 7. Under ordinary

  principles of equity, “[w]here a person wrongfully mingles money of another with money of his

  own and with the mingled fund acquires property, the other is entitled to an equitable lien upon

  the property to secure his claim for reimbursement.” Restatement of Restitution § 210(1) p. 845

  (1958). Further, where, as here, a conscious wrongdoer uses mingled funds to “acquire[] other

  property which is or becomes more valuable than the mingled fund with which it is acquired, the

  claimant [Amazon] is entitled to a proportionate share of the property and thus to secure the profit

  which arises from the transaction.” Id. § 210 cmt. d. Conversely, if the property acquired with

  commingled funds diminishes in value, “the claimant can enforce an equitable lien upon the prop-

  erty as security for his claim” and take priority over any returns to the wrongdoer. Id.

         Paragraph 7 anticipates these entitlements. It proscribes Defendants from transferring or

  dissipating any assets “obtained from” the Amazon deals. 2020 WL 4720086, at *4. This portion

  of Paragraph 7 alone prohibited Defendants from liquidating assets purchased or financed with

  funds commingled in the Northstar and Watson accounts in which they now admit depositing some

  $20 million in Amazon deal proceeds. Dkt. 308 at 7–8; Dkt. 308-2 at 3–4. Because Defendants

  used commingled accounts to finance assets and business operations, see id., Amazon has an eq-

  uitable right to proceeds from any assets Defendants acquired or sold after they deposited the Am-

  azon-linked funds. See Restatement, supra, § 210 p. 845. Such assets include at least the $23

  million in proceeds from the 5805 Mark Dabling, Gateway Realty, and 5500 S. Quebec sales last

  year, which Northstar general ledger entries tie directly to financing payments from the commin-

  gled accounts. Dkt. 308 at 4–7; Dkt. 308-6; Dkt. 308-7. They also include other properties, such



                                                  18
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 26 of 39 PageID# 11943




  as Benchmark Title and Watson’s personal mansion and ranch, that Defendants continue to hold

  as a result of financing or other payments from accounts in which they commingled Amazon-

  related funds, as well as liquidation proceeds placed into such accounts. See Restatement, supra,

  § 210 p. 845.

         Separately, Paragraph 7’s prohibition on dissipation of assets “relating to Defendants’ real

  property transactions with Amazon,” establishes Defendants’ violation of Paragraph 7 with respect

  to assets in which Amazon has an enforceable equitable interest. See Black’s Law Dictionary 1541

  (“related” means “connected in some way; having relationship to or with something else”); Lamar,

  Archer & Cofrin, LLP v. Appling, 138 S. Ct. 1752, 1760 (2018) (collecting authorities noting the

  “expansiv[e]” meaning of “relating to”). This portion of Paragraph 7 covers all funds that Defend-

  ants received from any persons, entities, or transactions “related to” the Amazon deals in suit,

  including funds from co-defendants, the landlord joint ventures and LLCs, other investors, third

  party lenders, or vendors. Despite this clear prohibition, Defendants have not preserved these

  funds or the assets they financed. Instead, Defendants admit they spent all the funds, as well as all

  of the cash they received from related asset liquidations, on Watson’s “personal living expenses”

  and alleged Northstar business “expenses.” See Ex. 52. Defendants also now state that these

  expenditures, which they “willfully [disobeyed]” this Court’s orders to explain in discovery, Dkt.

  330, made previously available assets unavailable for judgment in this case. Id. These admissions

  further establish Defendants’ knowing violation of Paragraph 7’s anti-dissipation provisions.

         C.       Defendants’ Injunction Violations Have Harmed Amazon

         The “fourth and final element” for civil contempt is also satisfied here because “it is clear”

  that Amazon has been, and continues to be, “harmed by [D]efendants’ actions” in violation of this

  Court’s orders. E.g., Axiom Res. Mgmt. Inc. v. Alfotech Solutions, LLC, 2011 WL 2560096, at *5

  (E.D. Va. June 3, 2011), adopted by 2011 WL 2559806 (E.D. Va. June 27, 2011). The Court
                                                   19
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 27 of 39 PageID# 11944




  recognized as much when it held that Defendants’ discovery abuses—and specifically their failure

  to substantiate their Injunction defenses— “certainly prejudice[d] [the Amazon] plaintiffs in terms

  of their ability to enforce the injunction or, perhaps, even recoup the funds.” Ex. 1 at 7:5–7.

         This finding alone establishes the injury required for civil contempt, see, e.g., Axiom, su-

  pra, but the violations here extend even beyond this harm to Amazon. Amazon V, 2021 WL

  3878403, at *7. Defendants’ Injunction contempt has also materially interfered with the Court’s

  ability to “render a meaningful judgment on the merits,” id. (citing authorities), by making “recov-

  ery of the monies sought in plaintiffs[’] complaint significantly more difficult.” Axiom, 2011 WL

  2560096, at *5 (granting contempt sanctions including partial default judgment, a permanent in-

  junction, and disgorgement). And it has needlessly embroiled third parties in asset disputes that

  have threatened investor interests and proliferated litigation, including and most recently the 800

  Hoyt intervenor. See, e.g., Dkt. 334; Dkt. 308-2 & 3; Dkt. 310-16. These harms have been com-

  pounded by Defendants’ decision to burden Amazon and the Court with costly discovery proceed-

  ings—including multiple Rule 37 hearings and the review of irrelevant documents—to conceal

  their contempt. See Dkts. 16, 57; Axiom, 2011 WL 2560096, at *5.

         This record establishes exactly the kind of prejudice that this Court has previously ad-

  dressed through contempt sanctions far more onerous than those Amazon requests here. In Axiom,

  as in this case, the harm from defendants’ contempt of an asset preservation order was exacerbated

  by discovery misconduct that increased the likelihood of insolvency, thereby “making preservation

  of the existing funds all the more important.” Id. The Court responded by imposing contempt

  sanctions that included a partial default judgment, permanent injunction, disgorgement order, and

  fines. Here, Amazon currently seeks more modest relief, all of which could be discontinued upon

  Injunction compliance, to “ensure that assets currently held by the defendant, but likely to become



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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 28 of 39 PageID# 11945




  unavailable before damages can be collected, will remain available following trial.” SAS Inst.,

  Inc. v. World Programming Ltd., 874 F.3d 370, 386–87 (4th Cir. 2017); Rahman, 198 F.3d at 499–

  501; Amazon V, 2021 WL 3878403, at *5.

         D.      Defendants Cannot Show “Good Faith” or “Reasonable Efforts to Comply”

         For the reasons above, Amazon has established all the elements of a prima facie case for

  contempt: Defendants’ “knowledge” of a “valid decree” in Amazon’s “favor” that they “violated”

  in ways that harmed Amazon “as a result.” Conoco, 218 F.3d at 301. Accordingly, the burden

  “shifts to [D]efendant[s] to demonstrate that [they] made in good faith all reasonable efforts to

  comply with” the Injunction. Ali, 874 F.3d at 831 (quotation marks omitted); Rylander, 460 U.S.

  at 757; Chesapeake Bank v. Berger, No. 4:14-cv-66, 2014 WL 5500872, at *2 (E.D. Va. Oct. 30,

  2014). The record forecloses such a showing. The Fourth Circuit decision and Defendants’ own

  discovery responses conclusively rebut their excuses for defying Paragraphs 2 and 7 of the Injunc-

  tion. See supra. And the discovery record now establishes that they made no “good faith” or

  “reasonable” effort to comply even after they liquidated $140 million in assets. Instead, they used

  the proceeds to benefit themselves and make funds unavailable for judgment in this case while

  they “willfully [disobeyed]” this Court’s repeated orders to account for their assets. Dkt. 330.

         On September 10, this conduct caused the Court to “order[] [that], for reasons stated from

  the bench, and in accord with specific rulings and instructions thereto,” Amazon’s “Motion for

  Sanctions (Dkt. 307) is GRANTED.”15 The Court’s findings of “willful” violations of multiple



  15
     Accordingly, Defendants are “bar[red] …from relying on or presenting any evidence they failed
  to timely search for and produce.” Dkt. 307 (requesting such relief). This sanction was a far more
  modest form of relief than the default judgments this Court has imposed for the type of misconduct
  here. See, e.g., Axiom, 2011 WL 2560096, at *7 (entering partial default judgment and other sanc-
  tions because defendants “failed to comply with” a preliminary injunction and related “discovery
  requests’”); Brooks, 2018 WL 7488924, at *17 (same, holding that defendants’ “[r]efusal to com-


                                                  21
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 29 of 39 PageID# 11946




  orders and federal rules causing “prejudice” to Amazon, Dkt. 330, alone preclude any showing

  that Defendants’ Injunction was “reasonable” or in “good faith.” E.g., Plant v. Merrifield Town

  Ctr. Ltd. P’ship, 711 F. Supp. 2d 576, 587–88 (E.D. Va. 2010) (“bad faith is clearly evidenced by

  the repeated and flagrant disregard for the binding orders of the magistrate judge and plaintiffs’

  counsel’s misrepresentation of material facts concerning plaintiffs’ noncompliance with these or-

  ders”); Brooks Sports, Inc. v. Anta (China) Co., 2018 WL 7488924, at *16 (E.D. Va. Nov. 30,

  2018) (similar). The Court may therefore impose immediate contempt findings and sanctions.

  II.    MULTIPLE SANCTIONS ARE IMMEDIATELY WARRANTED

         The Court has broad “power to frame a sanction to fit the violation” of civil contempt,

  Wright & Miller, 11A Fed. Prac. & P. § 2960, and may impose sanctions “to compel obedience

  with the court’s outstanding order[s],” Int’l Union, United Mine Workers of Am. v. Bagwell, 512

  U.S. 821, 830 (1994) (quoting United States v. United Mine Workers of Am., 330 U.S. 258, 307

  (1947)). Because Amazon has established a prima facie case of civil contempt that Defendants

  cannot rebut on the record here, the Court can now impose sanctions “to coerce obedience to [the

  Injunction] or to compensate [Amazon] for losses sustained as a result” of Defendants’ contempt.



  ply with this Court’s orders can only be interpreted as an unabashed flouting of the Court’s au-
  thority”). To the extent there is any question regarding the preclusive effect of the September 10
  order, Amazon respectfully reserves all rights to “preclusion sanctions” for Defendants’ Rule 37
  violations and ongoing Injunction contempt. See Baker v. Curtis W. Key Plumbing Contractors,
  Inc., 2016 WL 11672046, at *9 (E.D. Va. Dec. 8, 2016) (preclusion is a proper remedy for failure
  “to timely search for and produce” information required by discovery orders); Thomas v. FTS USA,
  LLC, 2016 WL 3566657, at *4 (E.D. Va. June 24, 2016) (granting preclusion); Wu v. Tseng, 2008
  WL 4360990, at *6–7 (E.D. Va. Sept. 22, 2008) (similar); Certain Underwriters at Lloyd’s v.
  Advanfort Co., 2019 WL 3366103, at *9 (E.D. Va. July 25, 2019); Wu, 2008 WL 4360990, at *6–
  7; see generally Dkts. 283–84, 296, 308, 324, 330 (citing Rule 37 and civil contempt authorities
  that support barring Defendants here from presenting evidence or arguments that they “do not have
  anywhere near enough available cash or other liquid assets to be able to place $21,250,000 into
  escrow”; that they “never received anywhere near that amount of money in connection with the
  transactions” in suit; and that they have no knowledge of the kickbacks described in Interrogatory
  5, Dkt. 193-3 at 18:25–19:1).
                                                 22
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 30 of 39 PageID# 11947




  Cromer v. Kraft Foods N. Am., Inc., 390 F.3d 812, 821 (4th Cir. 2004) (citation omitted); Chesa-

  peake Bank, 2014 WL 5500872, at *3 (civil contempt sanctions appropriate “if the[ir] purpose is

  remedial”) (citing Buffington v. Baltimore Cty., 913 F.2d 113, 133 (4th Cir. 1990)).

         Once again Axiom is instructive. There, as here, the Court granted a “preliminary injunc-

  tion” that barred the defendants from “disposing of [certain] funds.” 2011 WL 2560096, at *1.

  “As discovery progressed, it became clear that defendants were egregiously non-compliant with

  their discovery obligations, the preliminary injunction, and various orders of the Court.” Axiom

  Res. Mgmt., Inc. v. Alfotech Sols., LLC, 2012 WL 1118947, at *1 (E.D. Va. Mar. 30, 2012). Ac-

  cordingly, the magistrate judge there (as here) found that the defendants had “willfully” violated

  their discovery obligations and “prejudiced” the plaintiff. 2011 WL 2560096, at *2; Dkt. 330.

  The case then progressed to contempt sanctions because “fail[ure] to enforce” the injunction would

  “send the wrong message to recalcitrant parties and their counsel: that defiance goes unpun-

  ished.” 2011 WL 2560096, at *7; see also 2012 WL 1118947, at *2 (ultimately entering partial

  “default judgment,” requiring defendants to “disgorge themselves of the funds obtained in viola-

  tion of the TRO and injunction,” “convert[ing] the preliminary injunction into a permanent injunc-

  tion,” and compelling defendants to pay fees and costs).

         Defendants’ contempt here is at least as egregious as the contempt in Axiom. But the sanc-

  tions Amazon currently seeks are far more tailored. Reserving rights to all available remedies, this

  motion seeks the minimum relief necessary to secure Injunction compliance if Defendants do not

  purge their contempt within a reasonable period of time.16 First, Plaintiffs seek an immediate

  order that will preserve the status quo until the hearing on this motion (and Defendants’ related



  16
    Given Defendants’ persistent refusal to comply with the Injunction, a week to purge their con-
  tempt is sufficient. See, e.g., SEC v. Dunlap, 253 F.3d 768, 771 (4th Cir. 2001).

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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 31 of 39 PageID# 11948




  Motion to Clarify the Injunction) by holding that: (i) Defendants’ request for expedited consider-

  ation is granted; (ii) Defendants are in contempt of the Injunction based on the current record and

  September 10 Rule 37 order, Dkt. 330; and (iii) Defendants are prohibited from engaging in per-

  sonal or business transactions in excess of $10,000, and from initiating or settling any collateral

  asset litigation, until the Court hears and resolves this motion’s requests for receivership or alter-

  native contempt sanctions. Second, following the hearing on this motion, Plaintiffs respectfully

  request an order: (i) directing the appointment of a receiver within 30 days, following party input

  on possible candidates; and (ii) requiring Defendants to bear all costs associated with the receiv-

  ership or other contempt sanctions, as well as the Rule 37 sanctions the Court ordered on Septem-

  ber 10, subject to the payment of daily Court fines for non-compliance.

         A.      The Court Should Preserve the Status Quo Through Expedited Hearing on
                 This Motion By Prohibiting Certain Transactions and Collateral Litigation

         To preserve the status quo until the Court hears this motion, the Court should rely on the

  current Rule 37 record and September 10 findings to enter an order immediately: (i) granting the

  expedited schedule Amazon requests; (ii) prohibiting Defendants from engaging in any business

  or personal transactions in excess of $10,000, and from initiating or settling any collateral asset

  litigation, until the Court hears and fully resolves this motion, including any appointment of a

  receiver. These initial contempt remedies are supported by the law and record now, and would—

  particularly if backed by an order imposing daily fines for non-compliance—at least preserve the

  status quo while the parties litigate Amazon’s request for additional contempt sanctions. Although

  Amazon reserves all rights to all available remedies for Defendants’ Injunction contempt, Amazon

  respectfully requests that the Court appoint, within 30 days of a decision on this motion, a receiver

  who would control and direct all of Defendants’ business and personal transactions and collateral

  litigation involving their assets. See, e.g., SEC v. Int’l Swiss Invs. Corp., 895 F.2d 1272, 1277 (9th


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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 32 of 39 PageID# 11949




  Cir. 1990) (authorizing asset freeze in conjunction with other contempt sanctions).

         Asset Preservation. This Court possesses “inherent equitable powers to order preliminary

  relief, including an asset freeze, in order to assure the availability of permanent relief,” and may

  direct such relief “against a custodian of defendant’s assets. CFTC v. Kimberlynn Creek Ranch,

  Inc., 276 F.3d 187, 193 (4th Cir. 2002). This power can be exercised in the initial entry of a

  preliminary injunction. See id.; see also, e.g., United States ex rel. Rahman v. Oncology Assocs.,

  198 F.3d 489, 493 (4th Cir. 1999) (affirming preliminary injunction including asset freeze to pro-

  tect disgorgement, constructive trust, and voiding of fraudulent transfers); SEC, 851 F. App’x at

  669 (affirming an injunction “freez[ing] all [the defendant’s] assets”). This power to order a pre-

  liminary freeze of “all” assets, Liu, supra, plainly encompasses a limited order prohibiting De-

  fendants from engaging in transactions in excess of $10,000 to preserve the status quo until the

  Court concludes a hearing on this motion. See generally Ex parte Robinson, 86 U.S. (19 Wall.) at

  510; Rainbow, 887 F.3d at 617.

         Prohibition on Collateral Asset Litigation. The Court should also immediately and tem-

  porarily prohibit Defendants from pursuing collateral litigation on the issues and assets covered

  by the Injunction, at least until the Court concludes the hearing on this motion, and until the Court

  appoints a receiver if Amazon’s request for receivership is granted. The need for a temporary

  restriction on collateral asset litigation is evident from Defendants’ filings over the past 18 months,

  as well as their recent threats of new filings.17 Defendants’ Injunction contempt, reinforced by




  17
    Defendants’ prior filings related to this case include their Delaware suit against IPI, as well as
  the Richards and Marcotte proceedings in Colorado and recent related litigation threats. The Del-
  aware suit, which is the subject of a pending dismissal motion, demands that IPI pay Defendants
  some $60 million in fees and commissions directly related to the Amazon deals at issue in this
  case, based on allegations that incorporate the Injunction defenses this Court rejected last year.


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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 33 of 39 PageID# 11950




  other litigation threats, prompted the Hoyt LLC’s recent request for Rule 24(b) intervention and

  fee and cost recovery in this case. Dkt. 334. The immediate order this motion requests would

  simply prohibit Defendants from initiating or resolving collateral asset litigation until the Court

  concludes the hearing on this motion and appoints a receiver if it agrees receivership is warranted.

         Such an order would flow directly from this Court’s power to enjoin Defendants from en-

  gaging in litigation in “certain, specific circumstances,” namely, where such a prohibition is “nec-

  essary in aid of the court’s jurisdiction, or necessary to protect or effectuate the court’s judgment.”

  Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 146 (1988); see also 28 U.S.C. § 2283 (authorizing

  limits on collateral litigation where necessary to “protect or effectuate [court] judgments”).18 The

  “preliminary injunction,” like the Court’s recent Rule 37 sanctions order, operates as a “‘judgment’

  for purposes of ” Section 2283 because each order “confers important rights and finally adjudi-

  cates” issues necessary to “preserv[e] the status quo until the district court reaches the case’s mer-

  its.” NBA v. Minn. Prof’l Basketball, Ltd. P’ship, 56 F.3d 866, 871–72 (8th Cir. 1995); see also

  Henry v. First Nat’l Bank, 595 F.2d 291, 305 (5th Cir. 1979) (same); Doe v. Ceci, 517 F.2d 1203,

  1206–07 (7th Cir. 1975). This Court thus has statutory authority to bar Defendants from collateral

  litigation where necessary to protect these orders, or otherwise prevent them from substantially

  “interfering with” this Court’s “consideration or disposition of [this] case.” Atl. Coast Line R.R.

  Co. v. Bhd. of Locomotive Eng’rs, 398 U.S. 281, 295 (1970). The record supports such a bar here



  See supra at 12 (citing Dkt. 308-12). Defendants’ Colorado actions concern assets that they fi-
  nanced with funds commingled with Amazon deal proceeds, and that they dissipated in violation
  of the Injunction. Defendants have settled two of these disputes (with former executives Richards
  and Marcotte), but just this month threatened to use the Marcotte settlement to sue the LLC he
  manages (as Watson’s successor) for offering to cooperate in this case. Dkt. 334.
  18
     This power is independent of the Court’s authority to prohibit Defendants from “instituting or
  prosecuting any proceeding in any State or United States court affecting [any] property” inter-
  pleaded in this action, 28 U.S.C. § 2361, such as the 800 Hoyt property addressed in last week’s
  intervention motion and interpleader. See Dkt. 334.
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 34 of 39 PageID# 11951




  whether or not the Court appoints a receiver, and would continue to support “bar[ring] judicial

  proceedings not before [this Court] to protect the receivership” if granted. Zacarias v. Stanford

  Int’l Bank, Ltd., 945 F.3d 883, 903 (5th Cir. 2019).

         B.      The Court Should Appoint a Receiver to Administer Defendants’ Assets

         Receivership is the most tailored contempt sanction the record now requires as a comple-

  ment to the contempt remedies above and the Rule 37 sanctions this Court has already granted. A

  federal district court “has within its equity power the authority to appoint receivers and to admin-

  ister receiverships,” Gilchrist v. Gen. Elec. Capital Corp., 262 F.3d 295, 302 (4th Cir. 2001), and

  may exercise that power “where the entity . . . has demonstrated that it cannot or will not comply

  with the law,” 2 Fed. R. Civ. P., Rules and Commentary Rule 66; see ACA Fin. Guar. Corp. v.

  City of Buena Vista, 298 F. Supp. 3d 834, 847 (W.D. Va. 2018); see also Fed. R. Civ. P. 66. The

  receiver has “exclusive jurisdiction and control over all of defendant’s property in whatever district

  it may be situated,” Wright & Miller, 12 Fed. Prac. & P. § 2985, and is “vested with complete

  jurisdiction and control of all such property,” Yancey v. Int’l Fid. Ins. Co., No. 1:16-cv-57, 2016

  WL 2997375, at *3 (E.D. Va. May 25, 2016). As a result, it does not require the proliferation of

  proceedings necessary for equitable liens or lis pendens involving property in different jurisdic-

  tions. Further, the receiver “wields the power of the property owner” and is obliged to respect the

  rights of creditors and other third parties. LNV Corp. v. Harrison Family Bus., LLC, 132 F. Supp.

  3d 683, 697 (D. Md. 2015). Accordingly, the receiver would have to respect Defendants’ legiti-

  mate business interests, if any, as well as third party rights in securing Injunction compliance.

         Receivership is appropriate here because Defendants’ ongoing contempt endangers the

  Court’s authority and continues to harm Amazon and others. See, e.g., Chesapeake Bank, 2014

  WL 5500872, at *5. Receiverships administered at the contemnor’s expense are a common rem-

  edy where, as here, the contemnor has not complied with multiple Court orders and additional
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 35 of 39 PageID# 11952




  discovery or asset diligence would be unduly costly or burdensome for the Court and innocent

  parties. See, e.g., Fed. Nat’l Mortg. Ass’n v. CG Bellkor, LLC, No. 3:13CV39 (DJN), 2013 WL

  12148279, at *5 (E.D. Va. Mar. 18, 2013) (granting injunction and appointing receiver); United

  States v. Mescall, 624 F. App’x 103, 103 (4th Cir. 2015) (noting issuance of preliminary injunction

  and appointment of receiver); CFTC v. Forefront Invs. Corp., No. CIV.A. 3:07CV152, 2007 WL

  2437413, at *2 (E.D. Va. Aug. 22, 2007) (upholding injunction and appointment of receiver). The

  reason, again, is that receivers can facilitate compliance by employing means that are more trans-

  parent and efficient than discovery or collateral asset proceedings, but do not require the “paradig-

  matic coercive, civil contempt sanction” of “confining a contemnor indefinitely until he complies

  with an affirmative command such as an order ‘to pay [a court ordered award or] surrender prop-

  erty ordered to be turned over to a receiver, or to make a conveyance.’” Bagwell, 512 U.S. at 828

  (quoting Gompers v. Buck’s Stove & Range Co., 221 U.S. 418, 442 (1911)).

         The Court may impose a receiver based on a variety of considerations “generally similar

  to those required for injunctive relief, including fraudulent conduct on the part of defendant; im-

  minent danger of the property being lost, concealed, injured, diminished in value, or squandered;

  the inadequacy of the available legal remedies; the probability that harm to plaintiff by denial of

  the appointment would be greater than the injury to the parties opposing appointment; and, in more

  general terms, plaintiffs’ probable success in the action and the possibility of irreparable injury to

  his interests in the property.” Berger, 2014 WL 5500872, at *5 (quotation marks omitted). By

  entering and affirming the Injunction, this Court and the Fourth Circuit have already found all of

  these criteria satisfied here. See Dkt. 57; Amazon V, 2021 WL 3878403. These findings now bind

  Defendants as law of the case. See, e.g., United States v. Rosen, 557 F.3d 192, 199 (4th Cir.




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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 36 of 39 PageID# 11953




  2009).19 And Defendants’ refusal to comply with the Injunction despite them supports receiver-

  ship because it establishes that Defendants will not “rectify” their contempt without coercive sanc-

  tions. E.g., United States v. Latney’s Funeral Home, Inc., 41 F. Supp. 3d 24, 37–38 (D.D.C. 2014)

  (relying on “equitable and statutory power to appoint a receiver as the remedy for Defendants’

  civil contempt” of injunction requiring payment of past taxes and preventing dissipation of assets).

         C.      The Foregoing or Other Contempt Remedies Should Be Enforced At Defend-
                 ants’ Expense and Subject to Fines for Non-Compliance

         Defendants’ contempt supports imposition of at least the foregoing remedies at their ex-

  pense, subject to daily fines for non-compliance. See, e.g., Cromer v. Kraft Foods N. Am., Inc.,

  390 F.3d 812, 821 (4th Cir. 2004) (endorsing use of contempt sanctions “to coerce obedience to a

  court order or to compensate the complainant for losses sustained as a result of the contumacy”)

  (quotation marks omitted; citing authorities); Buffington v. Baltimore Cty., Md., 913 F.2d 113, 133

  (4th Cir. 1990) (same, particularly “when the defendant can avoid paying [a] fine simply by per-

  forming the affirmative act required”) (quoting Hicks v. Feiock, 485 U.S. 624, 632 (1988)).

         Where, as here, Defendants’ contempt of Court orders has necessitated costly enforcement

  proceedings and relief, it is appropriate for Defendants to bear the costs “incurred as result of . . .

  [their] obstinacy or recalcitrance.” Enovative Techs., LLC v. Leor, 86 F. Supp. 3d 445, 447 (D.

  Md. 2015) (awarding attorneys’ fees and costs to movant to compensate for the costs of litigating

  civil contempt in connection with failure to comply with preliminary injunction); see also Schwartz

  v. Rent-A-Wreck of Am., 261 F. Supp. 3d 607, 618–19 (D. Md. 2017) (awarding attorneys’ fees

  “related to bringing and litigating the instant contempt motion” as sanction for noncompliance

  with court order). In this case, the Court should at the very least order Defendants to pay for all


  19
    “The law of the case doctrine “posits that” an interlocutory decision “should continue to govern
  the same issues in subsequent stages in the same case” subject to certain exceptions that have no
  application here. See, e.g., TFWS, Inc. v. Franchot, 572 F.3d 186, 191 (4th Cir. 2009); Dkt. 330.
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Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 37 of 39 PageID# 11954




  costs associated with receivership, intervention, and third party discovery or proceedings required

  to satisfy the Injunction and the Court’s most recent Rule 37 order. Dkt. 330. These costs are

  solely the result of Defendants’ Injunction contempt. And granting sanctions that shift such costs

  from Amazon (or third parties like the Hoyt intervenor) to Defendants is both appropriate under

  civil contempt and Rule 37 law, and would not deplete the asset corpus the Injunction secures.

  The reason is that Defendants have litigation insurance policies that provide up to $15 million of

  coverage that could be used to cover litigation costs, including the cost of a receiver. See Dkt. 85-

  5. Amazon has incurred significant expense defending and enforcing the Injunction and related

  discovery orders Defendants have defied. The time has come for Defendants to use their litigation

  funding to comply with, rather than obstruct, the Court’s orders. The Court should also impose

  daily fines for any further “act[s] in contravention of the court’s [orders].” Axiom, 2011 WL

  2560096, at *3; Bralley v. Carey, 2011 WL 6326503, at *5–6 (E.D. Va. Dec. 1, 2011). Absent

  such relief, the record establishes that Defendants will never comply with the Injunction and in-

  stead use all available resources to burden courts and innocent parties with wasteful proceedings

  intended to obstruct this case.

                                           CONCLUSION

         For the foregoing reasons, the Court should find Defendants in civil contempt of the In-

  junction and grant the immediate and other relief requested herein.




                                                   30
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 38 of 39 PageID# 11955




  Dated: September 30, 2021                 Respectfully submitted,

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                                       31
Case 1:20-cv-00484-LO-TCB Document 348 Filed 10/01/21 Page 39 of 39 PageID# 11956




                                     CERTIFICATE OF SERVICE

         I hereby certify that on September 30, 2021, I will electronically file the foregoing with the

  Clerk of Court using the CM/ECF system. I will send then send the document and a notification

  of such filing (NEF) to the following parties via U.S. mail to their last-known address and by email,

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                                                   32
